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EXHIBIT “J”
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
x

BENITO RODRIGO FAJARDO TARQUI and
LUIS A. FARJARDO, as Administrators of the
Estate of MARIA T. QUIRIDUMBAY, Deceased,
Affidavit

Plaintiffs,
-against-

UNITED STATES OF AMERICA,

Defendant.

State of Tlomp+}
}.:ss
County of a }
MICHAEL M. BEGMAN, MD, being duly sworn, deposes and says:

T aver that the opinions set forth in my reports dated June 1, 2015 and January 2, 2016,

are true and correct within a reasonable degree of medical certainty. The contents of the reports

are incorporated herein by reference.

Vlei pr Wien ed)

MICHAEL M. BERGMAN, MD

Sworn to before me this
Day of Geteber, 2016
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Aye AtFtsp0 Vigpness

if % LUIS ALFREDO VIGANEGO
. . pt Notary Public, State of Florida
ff « MA Gommission# FF 189946

My comm. expires Jan. 14, 2019

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June |, 2015

RE: Maria Quiridumbay
To Whom it May Concern:

fam a Board Certified Infectious Disease subspecialist as well as an Internal Medicine
Specialist and have been asked to review the medical records of Maria Quiridumbay
formerly of the Peekskill, NY area and now deceased. These records spanned from
December 11, 2009 ta Juty 29, 2010 which was the date of Maria Quiridumbay’s death.
Also included for my review was the deposition of Dr. Chung as well as the hospital
records of Baby Girl Quisidumbay during her perinatal period including her protracted
hospital stay that immediately followed her birth.

A summary of this case follows.

1) Maria Quiridumbay was 35 years of age on December 11, 2009 when she began
to experience diffuse aches while she was pregnant. Maria was evaluated by Dr.
Portchester who prescribed prednisone, a corticosteroid. A work-up was initiated
that culminated in the diagnosis of Rheumatoid Arthritis.

2} Maria was admitted to the Hudson Vatley Hospital on July 13, 2010 in labar.
Later that day she vaginally delivered a baby girl that required NICU (neonatal
ICU) care due to “sepsis”. The secords are quite clear that the sepsis in the baby
began with the Mother who developed fever to 101.9 degrees with an elevated
white blood cell count and a leftward shift on July 13-14, 2010. Indeed, blood
cultures that were drawn from Maria on July 13, 2010 became positive prior to
the patient's discharge on July 15, 2010, In a progress note from July 15, 2010, a
nurse named Stephanie Hutchings documented at 703AM that the patient had
positive biood cultures and “day staff to nolify HRHC provider”. Al the same
time as the blood cultures were positive, a genital culture grew the same
organism, i.e. group A streptococcus.

3) The bacteria that caused this patient's blood and genital culiures to be positive is
also known as the “killer strep”. This bacteria is renowned for being potentially
lethal and very fast-paced in its destruction. For these reasons, it is the standard of
care to treat patients with this bacteria in their blood with an antibiotic for [0-14
days, usually by the intravenous route. It is also customary to address the source
of the “blood poisoning” (bacteremin) with imaging tests as well as an Obstetrical
consultation to rule out feared complications such as endometritis, an
inflammation and infection of the uterine lining that can complicate a delivery,

4) Neither aggressive antibiotic therapy nor appropriate imaging tests such as an
ultrasound nor an Obstetric consultation were ordered for this patient who was
actually discharged on July 15, 2010 with signs and symptoms consistent with
endometritis. However, antibiotic therapy was briefly administered (cefazolin and
clindamycin) but only for a single day (July 14, 2010) and was then discontinued
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when an erroneous diagnosis of Rheumatoid Arthritis was given to this patient as
a full explanation for her elevated white blood cell count with fever.

5) Maria retumed to the Emergency Ward of Hudson Vailey Hospital on July 26,
2010 with diffuse aches. She was administered Tylenol and a narcotic (vicodin).

6) Maria returned to the EW on July 28, 2010 with similar complaints and was again
given pain medications. Later that day Maria was seen at home by her Visiting
Nurse who noted the patient’s temperature was low. The Visiting Nurse urged
that Maria return to an EW. When she presented to the Westchester Medical
Center, Maria Quiridumbay was lethargic and pus was noted to be present at the
cervical opening, consistent with the diagnosis of streptococcal endometritis.
Unfortunately, despite the best efforts at the Westchester Medical Center Maria
died of her infection the following day.

Discussion:

Maria Quiridumbay died of undertreatment of her bacteremia that was present on July
13, 2010. When a postpartum patient has streptococci in the blood, aggressive,
prolonged use of appropriate anti-streptocaccal antibiotic therapy is mandatory, along
with addressing the source of this infection. None of these crucial steps were
performed here and the patient died approximately two weeks later of endometritis.
In his deposition, Dr, Chung made several glaring errors. While Dr. Chung admitted
that the patient's elevated white blood cell count could have been due to infection or
inflammation or the effect of steroids, he failed to mention that this patient had a large
left shift on her differentia} (30 plus bands) which is never seen with inflammation
nor stcroid use. He also failed to mention that this patient had several positive blood
cultures that were never treated on the July 13, 2010 hospitalization. Dr. Chung also
admitied that he didn't even know that Baby Girl Quiridumbay had required a
protracted hospitalization as she was born septic (infected) presumably due to the
matema! bacteremia/endometritis.

Ht can be stated, within a reasonable degree of certainty that the Hudson Valley
Hospital was negligent in discharging Maria Quiridumbay on July 15, 2010 with
recent fevers, leukocytosis (white blood cell count elevation) and left shift in the
absence of antibiotic therapy. Similarly, the failure of antibiotic therapy to be
administered continued even after Nurse Hutchings supposedly communicated the
presence of positve blood cultures to the HRHC provider on July 15, 2010.

Even when Maria Quiridumbay retumed to the EW on July 26 and July 28, 2010 no
caretaker took an accurate history that should have established the presence of this
undertreated bacteremic endometritis. This responsibility was shared by multiple
individuals including Drs. Gar, Chung and the hospital os well as its allied personnel
such as the hospital PA Lindsay Aarsted.

It is my opinion that, as late as the July 26, 2010 EW visit and possibly even later,
had appropriate intravenous antibiotic and surgical therapies been administered,
Maria Quiridymbay would have survived and been able to continue to care for her
husband and daughter.

All statements made are done within a reasonable degree of medical certainty.
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Please do not hesitate to contact me if further assistance is needed.
Very truly yours,

Michael M, Bergman, MD

MMB/msb
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January 2, 2016
RE: Maria Quiridumbay, deceased
Dear Attomey Friedman,

I have reviewed the depositions that were recently submitted in the above-captioned
matter. This report will serve to supplement my earlier report that was dated June |,
2015.

The depositions of Drs.Rashrni Kar, Sachin Shah, nurse midwife Ingrid Deler-Garcia and
Nurse Lindsay Seekircher were all taken following my earlier report but none of these
depositions materially affected my eartier findings and conclusions. Salient highlights
from these newly reviewed depositions are summarized.

1) Dr. Rashmi Kar, an Obstetrician was indecd aware that Maria Quiridumbay
suffered from rheumatoid arthritis, an autoimmune, immune suppressive disorder
and that the patient was receiving prednisone for that condition. Dr. Kar noted in
her deposition that he was contacted by Janet Brooks, a nurse midwife at that
Maria began to have fever on her second postpartum day (July 15, 2010) while at
Hudson Valley Hospital. Dr. Kar ordered that cultures of blood, urine and vaginal
secretions be obtained as well as beginning empiric antibiotics.

2) Dr. Sara Jordan was the on-call physician thal day and a decision was made to
stop antibiotic therapy. No Infectious Disease consultation was obtained, not by
Dr. Kar nor by Dr. Jordan despite btood and vaginal cultures growing a
streptococcal species. Dr. Kar was aware both of the patient's rheumatoid
arthritis, her recent prednisone therapy, the positive vaginal as well as the positive
vaginal cultures. Despite this highly suggestive scenario for the clinical diagnosis
of endometritis in a compromised patient, Drs. Kar and Jordan allowed this
potentially fatal condition to continue unchecked off of intravenous antibiotic
therapy and in the absence of further examination or imaging to search for
endometritis.

3) On July 26, 2010 Dr. Kar was contacted by Dr. Chung, an Emergency Ward
physician due to the onset of multiple joint complaints that the patient had begun
to experience. During that EW visit, toradol and vicodin and other medications
were given, some of which may suppress the ability of a patient to mount a fever.
In addition, Maria's white blood cell count was over 20,000 (more than twice
norma!) and she had a left shift on her CBC which is entirely consistent with
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4)

5)

6)

7)

8)

infection and virtually no other inflammatory condition was conceivable at that
time.

Further, in his deposition, Dr. Kar admits that he never inquired as to the medica!
condition of the baby in this case who was ill with sepsis (severe infection) early
in the neonatal period.

Another criticism of Dr. Kar focuses on the admission in his deposition (page 49)
that endometritis was on his differential diagnosis of an ill postpartum woman
with fever, positive vaginal and blood cultures, yet no further examination or
imaging studies were done and antibiotic therapy was discontinued very
prematurely for this potentially fatal condition.

Dr. Sachin Shaw is an Emergency Room physician who erroneously concluded
that since Maria Quiridumbay didn't have fever (this is refuted by the facts) and
had multiple joints involved in her July 26" presentation, that infection was
essentially ruled out. His deposition is also replete with other misunderstandings
such as the failure to appreciate that the elevated white blood cell count that this
patient evidenced, along with the leftward shifted differential were not suggestive
of rheumatoid arthritis but could only be seen in undertreated or partially treated
infection. Dr. Shah also failed to elicit the history of recent positive blood and
Vaginal cultures, as well as the history of the Quiridumbay Baby's sepsis. Dr,
Sachin Shaw also placed undue significance on “trending” of fabs and vital signs
Suggesting that a momentary improvement in an unstable patient’s condition has
predictive value that such a trend is likely to continue. This logic is seriously
flawed in any condition, such as a partially treated bacteremia, that can wax and
wane numerous times while still curable before becoming absolutely incurable.

The deposition of Ingrid Deller-Garcia, the midwife documented that she was a-
ware that Maria had positive blood cultures as early as July 15, 2010 end that a
physician was made aware.

The deposition of Lindsay Seekircher, RN also documented several of the prior
comments already made and did not materially alter any conclusions made to
date.

Conclusions that have been drawn in this report, a5 was true in the prior report,
are entirely made within a reasonable degree of medical certainty. [ again reserve
the right to modify any opinions that have been made should additional medical
records become available that calls prior fact into question or dispute.

Please feel free to contact me should additional questions arise.

Very truly yours,
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Michael M. Bergman, MD
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Michael M. Bergman, MD

1500 Bay Road, Apt. 814 * Miami Beach, FL « (508) 981-3042 « mmbergmanmdéa)aol.com

PROFESSIONAL — Chief of Infectious Disease Division at Sturdy Memorial Hospital
EXPERIENCE Attleboro, MA (April, 1999 to April, 2016)

Chief of Infectious Disease Division at Whittier Rehabilitation Hospital
Westboro, MA (May, 1999 to April, 2016)

Chief of Infectious Disease Division at Kindred Hospital
North Shore, MA (June, 2002 to April, 2016)
POST DOCTORAL Infectious Disease Fellow, Saint Vincent Hospital
TRAINING Worcester, MA (1985-1987)

Chief Medical Resident, Newton- Wellesley Hospital
Newton, MA (1984-1985)

Medical Resident, Newton-Wellesley Hospital
Newton, MA (1983-1984)
EDUCATION Tufts University School of Medicine, Boston, MA (1982)

University of Massachusetts, Amherst, MA (1978)
Bachelor of Science, Summa Cum Laude, Phi Beta Kappa

CLINCIAL (1) Levofloxacin efficacy in community-acquired Pneumonia (begun 1998).
RESEARCH
EXPERIENCE (2) Saccharomyces boulardi vs. placebo for recurrent clostridia difficile colitis

(2001-2002).

(3) HA-1A vs. placebo-The role of anti-endotoxin antibodies in gram-negative septic
shock (1990-1994).

(4) Clinical Investigator- Intravenous Ciprofloxacin Study (1990).

(5) Oral ciprofloxacin vs. ceftriaxone- Randomized, double-blind study in community-
acquired pneumonia. (1991-1993, multicenter trial).

(6) Intravenous cefonicid vs. intravenous cefuroxime- randomized, double-blind study
in community-acquired pneumonia (1991-1993, multicenter trial).

(7) Compassionate Use Investigator of HA-1A in gram-negative septicemia, a
multicenter study (1992-1994).

(8) Other smaller scale investigations (full listing available upon request).

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TEACHING
EXPERIENCE

MEDICO-LEGAL
AND PEER
REVIEW
EXPERIENCE

LICENSURE/
CERTIFICATION

PROFESSIONAL
APPOINTMENTS

Assistant Professor of Medicine
University of Massachusetts Medical School
Worcester, MA (1991 to 2016)

Preceptor

Massachusetts College of Pharmacy and Health Sciences
Physician Assistant Program

Worcester, MA (February, 2015)

Visiting Attending Physician

Milford-Whitinsville Regional Hospital

Milford, MA (August 1998; October 1997; December, 1991 to January, 1992)
Instructor: Physical Diagnosis Course

University of Massachusetts Medical School

Worcester, MA (1985-1996)

Grand Rounds Speaker at multiple institutions on various Infectious Disease topics.
(Full listing available upon request).
MedQuest Infectious Disease Consultant

New York, NY (2004-present)

Medical Advisory Tribunal, Northampton Superior Court
North Hampton, MA (1997 to present)

Acting Medical Director of Medical Review Foundation
Vienna VA (April 1999 to present)

Medical Quality Foundation, Vienna, VA (1990 to 1998)
Diplomat Subspecialty of Infectious Disease

Subspecialty Certification (1990)

Recertifications in Infectious Disease subspecialty:

November, 2000 to December, 2010 and April, 2011 to December 2021
(American Board of Internal Medicine)

American College of Internal Medicine Board Certification (1985)
Massachusetts License Registration #495969 (1985)

Diplomat, National Board of Medical Examiners (1983)
President of the Medical Staff

Kindred Hospital, North Shore

Peabody, MA (October, 2010 to June, 2014 term)

Chairman, Infection Control Committee
Sturdy Memorial Hospital, Attleboro, MA

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PROFESSIONAL
AFFILIATIONS

PUBLICATIONS

(1999 to 2016)

Milford-Whitinsville Regional Hospital, Milford, MA (1987 to 1999)
Whittier Hospital, Westboro, MA (1997 to 2016)

Pharmacy and Therapeutics Committee

Sturdy Memorial] Hospital (September 1999 to 2016)
Milford-Whitinsville Regional Hospital (1987 to 1999)

Whittier Hospital, Westboro, MA (1997 to 2016)

Reviewer, Archives of Internal Medicine (1987)

Infection Control Committee, Saint Vincent Hospital

Worcester, MA_ in charge of monthly antimicrobial updates (1985 to 1987)
International Who’s Who Among Professionals, (Selected 1995)

Who’s Who in Medicine (Selected 1990)

National Association for the Advancement of Science (Nominated 1994)
Massachusetts Medical Society

Worcester District Medical Society

Diplomat, American College of Physicians

American Medical Association

(1) Bergman, M.M. Gagnon, D. and Doem, G.V., “Pichia Ohmeri Fungemia: A Case
Report and Literature Review” Diagnosis Microbial Infection. Dis: 1998 Mar, 30 (3):

229-31.

(2) Bergman, M.M. and Ciak, C., “A Novel Approach to an Uncommon Condition,”

Hospital Practice: 1989; 24(8): 37-42.

(3) Bergman, M.M. and Giew, R.H., “Acute Interstitial Nephritis Associated with
Vancomycin Therapy” Archives of Internal Medicine: 1998;148(10)2139-2140.

(4) Bergman, M.M. and Gleckman, R.A., “Infectious Complications in Alcohol
Abusers” Hospital Practice: 1998;23(9):145-156.

(5) Gleckman, R.A. and Bergman, M.M., “Bacterial Pneumonia: Specific Diagnosis

and Treatment of the Elderly” Geriatrics: 1987;42(9):29-41.

(6) Gleckman, R.A. and Bergman, M.M., “The Role of Newer Beta-Lactam
Antibiotics in the Elderly, Part If” Geriatrics: 1987;42(2):61-70.

(7) Bergman, M.M. and Gleckman, R.A., “Primary Meningococcal Pneumonia in the

Elderly” Hospital Practice: 1987;22(5):29-33.

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(8) Bergman, M.M. and Gleckman, R.A., “Heterophile-Negative Infectious
Mononucleosis-Like Syndromes” Postgraduate Medicine: 1987;81(1):3 13-326.

(9) Gleckman, R.A. and Bergman, M.M., “When to Turn to the Newer Penicillins and
Beta-Lactams” Journal of Respiratory Diseases: 1986;7(11):99-109,

(10) GleckIman, R.A. and Bergman, M.M., “When to Turn to the Newer
Cephalosporin Agents in Lower Respiratory Tract Infections” Journal of Respiratory
Diseases: 1986;7(12):51-57.

(11) Gleckman, R.A. and Bergman, M.M., “Newer Clinical Applications for Older
Antibiotics,” Hospital Formulary: 1986;21(8):844-850.

(12) Gleckman, R.A. and Bergman, M.M., “Community-Acquired Urosepsis in
Elderly Women,” Geriatric Medicine Today: 1986;5(5}:73-80.

(13) Gleckman, R.A. and Bergman, M.M., “Newer Antibiotics: Their Place in
Geriatric Care, Part I,” Geriatrics: 1986;41(12):51-55.

